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EXHIBIT A
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The Department of Justice’s Operation Fast and Furious:
Accounts of ATF Agents

 

 

JOINT STAFF REPORT
Prepared for

Rep. Darrell E. Issa, Chairman
United States House of Representatives
Committee on Oversight and Government Reform
&
Senator Charles E. Grassley, Ranking Member
United States Senate
Committee on the Judiciary

112" Congress
June 14 2011
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I. Executive Summary

 

In the fall of 2009, the Department of Justice (DOJ) developed a risky new strategy to
combat gun trafficking along the Southwest Border. The new strategy directed federal law
enforcement to shift its focus away from seizing firearms from criminals as soon as possible—
and to focus instead on identifying members of trafficking networks. The Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) implemented that strategy using a reckless
investigative technique that street agents call “gunwalking.” ATF’s Phoenix Field Division
began allowing suspects to walk away with illegally purchased guns. The purpose was to wait
and watch, in the hope that law enforcement could identify other members of a trafficking
network and build a large, complex conspiracy case.

This shift in strategy was known and authorized at the highest levels of the Justice
Department. Through both the U.S. Attorney’s Office in Arizona and “Main Justice,”
headquarters in Washington, D.C., the Department closely monitored and supervised the
activities of the ATF. The Phoenix Field Division established a Gun Trafficking group, called
Group VII, to focus on firearms trafficking. Group VII initially began using the new gunwalking
tactics in one of its investigations to further the Department’s strategy. The case was soon
renamed “Operation Fast and Furious,” and expanded dramatically. It received approval for
Organized Crime Drug Enforcement Task Force (OCDETF) funding on January 26, 2010. ATF
led a strike force comprised of agents from ATF, Drug Enforcement Administration (DEA),
Federal Bureau of Investigation (FBI), Immigration and Customs Enforcement (ICE), and the
Internal Revenue Service (IRS). The operation’s goal was to establish a nexus between straw
purchasers of assault-style weapons in the United States and Mexican drug-trafficking
organizations (DTOs) operating on both sides of the United States-Mexico border. Straw
purchasers are individuals who are legally entitled to purchase firearms for themselves, but who
unlawfully purchase weapons with the intent to transfer them into the hands of DTOs or other
criminals.

Operation Fast and Furious was a response to increasing violence fostered by the DTOs
in Mexico and their increasing need to purchase ever-growing numbers of more powerful
weapons in the U.S. An integral component of Fast and Furious was to work with gun shop
merchants, or “Federal Firearms Licensees” (FFLs) to track known straw purchasers through the
unique serial number of each firearm sold. ATF agents entered the serial numbers of the
weapons purchased into the agency’s Suspect Gun Database. These weapons bought by the
straw purchasers included AK-47 variants, Barrett .50 caliber sniper rifles, .38 caliber revolvers,
and the FN Five-seveN.

During Fast and Furious, ATF frequently monitored actual transactions between the FFLs
and straw purchasers. After the purchases, ATF sometimes conducted surveillance of these
weapons with assistance from local police departments. Such surveillance included following
the vehicles of the straw purchasers. Frequently, the straw purchasers transferred the weapons
they bought to stash houses. In other instances, they transferred the weapons to third parties.
The volume, frequency, and circumstances of these transactions clearly established reasonable

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suspicion to stop and question the buyers. Agents are trained to use such interactions to develop
probable cause to arrest the suspect or otherwise interdict the weapons and deter future illegal
purchases. Operation Fast and Furious sought instead to allow the flow of guns from straw
purchasers to the third parties. Instead of trying to interdict the weapons, ATF purposely
avoided contact with known straw purchasers or curtailed surveillance, allowing guns to fall into
the hands of criminals and bandits on both sides of the border.

Though many line agents objected vociferously, ATF and DOJ leadership continued to
prevent them from making every effort to interdict illegally purchased firearms. Instead,
leadership’s focus was on trying to identify additional conspirators, as directed by the
Department’s strategy for combating Mexican Drug Cartels. ATF and DOJ leadership were
interested in seeing where these guns would ultimately end up. They hoped to establish a
connection between the local straw buyers in Arizona and the Mexico-based DTOs. By entering
serial numbers from suspicious transactions into the Suspect Gun Database, ATF would be
quickly notified as each one was later recovered at crime scenes and traced, either in the United
States or in Mexico.

The Department’s leadership allowed the ATF to implement this flawed strategy, fully
aware of what was taking place on the ground. The U.S. Attorney’s Office for the District of
Arizona encouraged and supported every single facet of Fast and Furious. Main Justice was
involved in providing support and approving various aspects of the Operation, including wiretap
applications that would necessarily include painstakingly detailed descriptions of what ATF
knew about the straw buyers it was monitoring.

This hapless plan allowed the guns in question to disappear out of the agency’s view. As
a result, this chain of events inevitably placed the guns in the hands of violent criminals. ATF
would only see these guns again after they turned up at a crime scene. Tragically, many of these
recoveries involved loss of life. While leadership at ATF and DOJ no doubt regard these deaths
as tragic, the deaths were a clearly foreseeable result of the strategy. Both line agents and gun
dealers who cooperated with the ATF repeatedly expressed concerns about that risk, but ATF
supervisors did not heed those warnings. Instead, they told agents to follow orders because this
was sanctioned from above. They told gun dealers not to worry because they would make sure
the guns didn’t fall into the wrong hands.

Unfortunately, ATF never achieved the laudable goal of dismantling a drug cartel. In
fact, ATF never even got close. After months and months of investigative work, Fast and
Furious resulted only in indictments of 20 straw purchasers. Those indictments came only after
the death of U.S. Border Patrol Agent Brian Terry. The indictments, filed January 19, 2011,
focus mainly on what is known as “lying and buying.” Lying and buying involves a straw
purchaser falsely filling out ATF Form 4473, which is to be completed truthfully in order to
legally acquire a firearm. Even worse, ATF knew most of the indicted straw purchasers to be
straw purchasers before Fast and Furious even began.

In response to criticism, ATF and DOJ leadership denied allegations that gunwalking

occurred in Fast and Furious by adopting an overly narrow definition of the term. They argue
that gunwalking is limited to cases in which ATF itself supplied the guns directly. As field

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agents understood the term, however, gunwalking includes situations in which ATF had
contemporaneous knowledge of illegal gun purchases and purposely decided not to attempt any
interdiction. The agents also described situations in which ATF facilitated or approved
transactions to known straw buyers. Both situations are even more disturbing in light of the
ATF’s certain knowledge that weapons previously purchased by the same straw buyers had been
trafficked into Mexico and may have reached the DTOs. When the full parameters of this
program became clear to the agents assigned to Group VII, a rift formed among Group VII’s
agents in Phoenix. Several agents blew the whistle on this reckless operation only to face
punishment and retaliation from ATF leadership. Sadly, only the tragic murder of Border Patrol
Agent Brian Terry provided the necessary impetus for DOJ and ATF leadership to finally indict
the straw buyers whose regular purchases they had monitored for 14 months. Even then, it was
not until after whistleblowers later reported the issue to Congress that the Justice Department
finally issued a policy directive that prohibited gunwalking.

This report is the first in a series regarding Operation Fast and Furious. Possible future
reports and hearings will likely focus on the actions of the United States Attorney’s Office for
the District of Arizona, the decisions faced by gun shop owners (FFLs) as a result of ATF’s
actions, and the remarkably ill-fated decisions made by Justice Department officials in
Washington, especially within the Criminal Division and the Office of the Deputy Attorney
General. This first installment focuses on ATF’s misguided approach of letting guns walk. The
report describes the agents’ outrage about the use of gunwalking as an investigative technique
and the continued denials and stonewalling by DOJ and ATF leadership. It provides some
answers as to what went wrong with Operation Fast and Furious. Further questions for key ATF
and DOJ decision makers remain unanswered. For example, what leadership failures within the
Department of Justice allowed this program to thrive? Who will be held accountable and when?

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Il. Table of Names

 

John Dodson
Special Agent, ATF Phoenix Field Division

Agent Dodson is the original whistleblower who exposed Operation Fast and Furious. A seven-
year veteran of ATF, Dodson also worked in the sheriffs offices in Loudoun County and other
Virginia municipalities for 12 years. Agent Dodson was removed from Phoenix Group VII in
the summer of 2010 for complaining to ATF supervisors about the dangerous tactics used in
Operation Fast and Furious.

Brian Terry
U.S. Border Patrol Agent

Brian Terry was an agent with the U.S. Border Patrol’s Search, Trauma, and Rescue team,
known as BORSTAR. He served in the military and was a Border Patrol agent for three years.
On December 14, 2010, during a routine patrol, Terry was confronted by armed bandits. He was
shot once and killed. Two weapons found at the scene traced back to Operation Fast and
Furious.

Jaime Avila
Straw Purchaser

Jaime Avila was the straw purchaser who bought the two AK-47 variant weapons that were
found at the murder scene of Brian Terry. Avila bought the weapons on January 16, 2010. ATF,
however, began conducting surveillance of Avila as early as November 25, 2009. On January
19, 2011, Avila was indicted on three counts of “lying and buying” for weapons purchased in
January, April, and June 2010.

David Voth
Phoenix Group VII Supervisor

Agent Voth was the former supervisor of the Phoenix Group VII, which conducted Operation
Fast and Furious. As Group VII Supervisor, Voth controlled many operational aspects of Fast
and Furious. Voth is no longer in Phoenix.

Pete Forcelli
Group Supervisor, ATF Phoenix Field Division

Since 2007, Agent Forcelli has been the Group Supervisor for Phoenix Group I. Before Phoenix
Group VII was formed in October 2009, Group I was the primary southwest border firearms
group. Before joining ATF in 2001, Agent Forcelli worked for twelve years in the New York
City Police Department as a police officer and detective.

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Olindo Casa
Special Agent, ATF Phoenix Field Division

Agent Casa served in Phoenix Group VII during Operation Fast and Furious. Agent Casa is an
18-year veteran of ATF, having worked in Chicago, California, and Florida. In Chicago, Agent
Casa worked on numerous firearms trafficking cases, including a joint international case. Agent
Casa had never seen a gun walk until he arrived at Group VII in Phoenix and participated in
Operation Fast and Furious.

William Newell
Special Agent in Charge, ATF Phoenix Field Division

Agent Newell was the former head of the ATF Phoenix Field Division during Operation Fast and
Furious. Newell is no longer in Phoenix.

Emory Hurley
Assistant U.S. Attorney, District of Arizona

Emory Hurley is the lead prosecutor for Operation Fast and Furious. Hurley advised the ATF
Phoenix Field Division on the Operation, including instructing agents when they were and were
not able to interdict weapons.

Larry Alt
Special Agent, ATF Phoenix Field Division

Agent Alt served in Phoenix Group VII during Operation Fast and Furious. An | l-year veteran
of ATF, Agent Alt worked as a police officer for five years before joining ATF. Agent Alt is
also a lawyer, having served as deputy county attorney in Maricopa County, a county of nearly 4
million people that encompasses the Phoenix metro area.

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Findings

 

DOJ and ATF inappropriately and recklessly relied on a 20-year old ATF Order to allow
guns to walk. DOJ and ATF knew from an early date that guns were being trafficked to
the DTOs.

ATF agents are trained to “follow the gun” and interdict weapons whenever possible.
Operation Fast and Furious required agents to abandon this training.

DOJ relies on a narrow, untenable definition of gunwalking to claim that guns were never
walked during Operation Fast and Furious. Agents disagree with this definition,
acknowledging that hundreds or possibly thousands of guns were in fact walked. DOJ’s
misplaced reliance on this definition does not change the fact that it knew that ATF could
have interdicted thousands of guns that were being trafficked to Mexico, yet chose to do
nothing.

ATF agents complained about the strategy of allowing guns to walk in Operation Fast
and Furious. Leadership ignored their concerns. Instead, supervisors told the agents to
“get with the program” because senior ATF officials had sanctioned the operation.

Agents knew that given the large numbers of weapons being trafficked to Mexico, tragic
results were a near certainty.

Agents expected to interdict weapons, yet were told to stand down and “just surveil.”
Agents therefore did not act. They watched straw purchasers buy hundreds of weapons
illegally and transfer those weapons to unknown third parties and stash houses.

Operation Fast and Furious contributed to the increasing violence and deaths in Mexico.
This result was regarded with giddy optimism by ATF supervisors hoping that guns
recovered at crime scenes in Mexico would provide the nexus to straw purchasers in
Phoenix.

Every time a law enforcement official in Arizona was assaulted or shot by a firearm, ATF
agents in Group VII had great anxiety that guns used to perpetrate the crimes may trace
back to Operation Fast and Furious.

Jaime Avila was entered as a suspect in the investigation by ATF on November 25, 2009,
after purchasing weapons alongside Uriel Patino, who had been identified as a suspect in
October 2009. Over the next month and a half, Avila purchased 13 more weapons, each
recorded by the ATF in its database within days of the purchase. Then on January 16,
2010, Avila purchased three AK-47 style rifles, two of which ended up being found at the
murder scene of U.S. Border Patrol Agent Brian Terry. The death of Border Agent Brian
Terry was likely a preventable tragedy.

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>» Phoenix ATF Special Agent in Charge (SAC) William Newell’s statement that the
indictments represent the take-down of a firearms trafficking ring from top to bottom, and
his statement that ATF never allowed guns to walk are incredible, false, and a source of
much frustration to the agents.

>» Despite mounting evidence to the contrary, DOJ continues to deny that Operation Fast
and Furious was ill-conceived and had deadly consequences.

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IV. The ATF Policy on Gun Interdiction: “You Don’t Get to Go
Home”

 

ATF’s long-standing policy has been not to knowingly allow guns to “walk” into the
hands of criminals. Yet DOJ and ATF used a 1989 ATF order to help justify allowing straw
purchasers allegedly connected to Mexican drug cartels to illegally buy more than 1,800
weapons during Operation Fast and Furious. While this Order permits agents—at their
discretion—to allow the illegal transfer of firearms to further an investigation, it does not go so
far as to permit them to pull surveillance completely and allow the guns to walk.

A, The Justification for Operation Fast and Furious

FINDING: DOJ and ATF inappropriately and recklessly relied on a 20-year old
ATF Order to allow guns to walk. DOJ and ATF knew from an early
date that guns were being trafficked to the DTOs.

Released on February 8, 1989, ATF Order 3310.4(b) explains ATF’s Firearms
Enforcement Program. The Department of Justice and ATF relied on this Order to defend
Operation Fast and Furious. ATF leadership in Phoenix believed a specific clause within the
Order, section 148(a)(2), justified Operation Fast and Furious and its policy to allow guns to
walk. The clause reads as follows:

148. “WEAPONS TRANSFERS”

 

a. Considerations. During the course of illegal firearms trafficking
investigations, special agents may become aware of, observe, or
encounter situations where an individual(s) will take delivery of
firearms, or transfer firearm(s) to others. In these instances, the special
agent may exercise the following options:

* ok OK

(2) In other cases, immediate intervention may not be needed or
desirable, and the special agent may choose to allow the transfer of
firearms to take place in order to further an investigation and allow
for the identification of additional coconspirators who would have
continued to operate and illegally traffic firearms in the future,
potentially producing more armed crime. !

 

' BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES ORDER 3310.4(b) 148(a)(2) (Feb. 8,
1989) (emphasis added).

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ATF’s reliance on this section of the Order is misguided. The phrase “immediate

intervention may not be needed or desirable” does not justify a complete lack of intervention
with regard to thousands of weapons illegally purchased by straw buyers allegedly linked to drug
cartels. ATF cited this Order in an early briefing paper that contained the following paragraph:

Currently our strategy is to allow the transfer of firearms to continue to
take place, albeit at a much slower pace, in order to further the
investigation and allow for the identification of co-conspirators who
would continue to operate and illegally traffic firearms to Mexican DTOs
which are perpetrating armed violence along the Southwest Border. This
is all in compliance with ATF 3310.4(b) 148(a)(2). It should be noted that
since early December efforts to “slow down” the pace of these firearms
purchases have succeeded and will continue but not to the detriment of
the larger goal of the investigation. It should also be noted that the pace
of firearms procurement by this straw purchasing group from late
September to early December, 2009 defied the “normal” pace of
procurement by other firearms trafficking groups investigated by this and
other field divisions. This “blitz” was extremely out of the ordinary and
created a situation where measures had to be enacted in order to slow this
pace down in order to perfect a criminal case.”

This statement leaves little doubt that ATF felt Operation Fast and Furious was compliant

with existing ATF policy. Further, it shows that DOJ and ATF knew from an early date that the

firearms were being illegally trafficked to Mexican drug cartels.

Although senior ATF management cited the Order as justification for Fast and Furious, it

did not pass muster with street agents. They believed that it did not permit a total lack of

intervention. Agents believed they must interdict at some point if they have knowledge of an illegal
firearms transfer. Yet senior management used the Order to justify the notion that ATF would
completely drop surveillance of the weapons and then wait until receiving trace requests when the
weapons were eventually recovered at crime scenes. Such traces would supposedly create a “nexus”
between the drug cartels and the straw purchasers. The agents, however, did not agree with any

interpretation of the order that would be consistent with that kind of strategy.

As Special Agent John Dodson testified:

Q. And just so we are clear on what your understanding of the order
was, and we can all obtain it and read it and have our own
understanding of it, but what were you taught about what that
means?

A. That that implies when the straw purchaser makes the purchase at
the counter, you don’t have to land on them right there at the
counter or as soon as he walks out the door, that it is okay to allow
it to happen, to allow him to go with that gun under your

 

* Briefing Paper, ATF Phoenix Field Division, Group VII (Jan. 8, 2010) (emphasis added).

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Q.
A.

surveillance to the ultimate purchaser of it or whom he is
delivering it to, or if he is taking it to a gang or a stash house or
whomever, it is okay to allow it to happen, to go there, to be
delivered. But you don’t get to go home. You get the gun, is my
understanding, what I have been taught and how in every other
ATF office not only that I have been in but that I have gone like
TDY to work at that that policy is implemented.

So, in other words, your understanding is that there is a temporal or
time limitation on how long it can be allowed to continue on its
course without you intervening.

I think it is not so much time as it is availability of eyes on. Like if
I get an agent that’s on the house and we know that gun is on the
house, that’s still okay . . . even if it is overnight, on to the next
night, the gun and bad guy are still there. We are just waiting on
the guy he is supposed to deliver it to to come by and pick it up.

Well, the beginning of it said in other cases immediate intervention
may not be needed or desirable.

Correct.

So are you saying that, in other words, “intervention,” that doesn’t
mean, “no intervention ever?”

Correct.

Just the intervention doesn’t have to happen right now, but
intervention does need to occur, that’s your understanding?

Yes, sir, that it is not as soon as the FFL hands the straw purchaser
the gun, that’s it, you can’t let him leave the store with it.

It is not a license to forego intervention at all?

Correct.*

During Operation Fast and Furious, however, ATF agents did go home. They did not
get the guns. ATF simply broke off surveillance of the weapons. Yet, as Agent Dodson explains
it, the Order used to justify that practice actually anticipates interdiction at some point. It does
not authorize what occurred under Fast and Furious:

 

} Transcribed Interview of ATF Special Agent John Dodson, Transcript at 121-123 (April 26, 2011) (on file with
author) [hereinafter Agent Dodson Transcript].

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B.

FINDING:

More so, that line that says the agent has the discretion to allow the
purchaser not — or the purchase to proceed or not, what it is trying
to tell you is you don’t have to effect the arrest or the interdiction
right there in the store. It is telling you that you can allow it to
happen until that guy leaves the store and meets with the person
that he bought the gun for, then you can effect the arrest. It is not
telling you that you can watch this guy purchase thousands of
firearms over 18 months and not do any follow-up on it.’

Trained to Interdict

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ATF agents are trained to “follow the gun” and interdict weapons

whenever possible. Operation Fast and Furious required agents to

abandon this training.

Interdiction v. Prosecution: Prior to their assignment with Operation Fast and Furious, ATF
agents were trained to interdict guns and prevent criminals from obtaining them. Interdiction can

be accomplished in many ways. While prosecutors focus on gathering proof “beyond a
reasonable doubt” to be presented at trial, agents begin with a standard of “reasonable

suspicion.” If an agent can articulate a reasonable basis to suspect an illegal purchase, then the
agent can take proactive steps to investigate, potentially develop probable cause to arrest, or

prevent the illegal transfer of firearms some other way. From the agents’ point of view, a

prosecution isn’t necessary in order to achieve the goal of preventing criminals from obtaining
firearms. An arrest may not even be necessary. In fact, another portion of the ATF Order
describes some of these other interdiction strategies:

b. Alternative Intervention Methods. In the event it is determined by the
special agent that a weapons transfer should not take place, the special
agent may consider alternative methods of intervention other than
arrest and/or search warrants that will prevent the culmination of the
weapons transfer but allow the investigation to continue undetected.
These alternative methods are considered to be a course of action that
must be approved by the RAC/GS or SAC as previously noted. These
alternative interventions may include, but are not limited to:

(1) A traffic stop (supported by probable cause to search or supported

by a traffic violation allowing for plain view observations) by a
State or local marked law enforcement vehicle that would
culminate in the discovery and retention of the firearms. This
would prevent the weapons transfer from fully occurring and
may in turn produce new investigative leads. Should the
occupants of the vehicle be new/unknown participants in the
organization under investigation, they may be fully identified

 

* Agent Dodson Transcript, at 84.

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which in turn will yield additional information for follow-up
investigation. Should the occupants of the vehicle be known
participants in the investigation, requesting telephone tolls for
these individuals (or if a Penn Register/T-III interception order is
in use) for the period shortly after the traffic stop may show calls
and yield identifying information relating to the intended receivers
of the firearms.”

Three of the special agents assigned to this operation had more than 50 years of law
enforcement experience. Throughout their careers, ATF always taught them to get the guns
away from criminals. When they observed signs of suspicious transactions, agents looked for
ways to prevent weapons from falling into the wrong hands. Agent Dodson testified:

I can tell you this. We knew without a doubt at my old field
division when someone had a case that said, hey, this guy is...
supposed to be a straw and he is going to make this deal today, if
he makes the deal, we were talking to them. I mean if we all left
the office on an op for a suspected straw purchaser, that means we
had, we suspected him of being a straw purchaser. Well, when he
purchases, that adds to the suspicion. So he was getting talked to,
either “knock and talk” or, depending on what happened or what
he purchased might alter things and we might get to a higher level .
. . that reasonable suspicion or probable cause. But we were
doing something. If nothing else we were putting him on notice
that we were watching him, all right, and that every time he
went to the gun store, we were going to be there with him, or
the minute one of those guns turned up in a crime somewhere,
we were coming back to talk to him, or even better, or maybe not
better, but some point down the road we might be back to knock on
your door and ask you, still got those guns or are you selling
without a license, you better have a receipt or something to go with
them to prove your point.

The bottom line, sir, whenever a walk situation with a gun
occurred . . . nobody went home until we found it, until we got it
back. There were no ifs, ands or buts, you didn’t ask. Nobody
said, “I got to make a soccer game,” [or] “I have got to pick my
dog up,” nothing. Okay. If somebody said, “where is the gun,”
you knew it was an all-nighter until we found it.°

Fast and Furious employed the exact opposite practices. ATF agents rarely talked with
straw purchasers, or conducted a “knock and talk.” When guns recovered at crime scenes linked
back to straw purchasers, ATF agents did not approach these straw purchasers. Agents did not

 

> BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES ORDER 3310.4(b) 148(b)(1) (Feb. 8,
1989) (emphasis added).
® Agent Dodson Transcript, at 60-61.

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ask them why did they did not still possess guns they had recently sworn on a federal form were
for their personal use. Instead, ATF agents stood by and watched for months as the straw
purchasers bought hundreds upon hundreds of additional AK-47 variants and Barrett .50 caliber
sniper rifles. ATF failed to conduct proper surveillance of the walked guns. ATF leadership in
Phoenix cannot account for the location of the walked guns until they turn up at a crime scene,
which may be after they have been used to kill or maim innocent victims on both sides of the
border. Untold numbers of these weapons likely reached the DTOs in Mexico.

To the extent that these walked weapons reached the DTOs, it is a direct result of the
policy decision to no longer focus on interdicting weapons as soon as possible. From the agents’
perspective, that decision was the polar opposite of their understanding of the previous policy.
For example, Special Agent Olindo Casa testified:

Q. And if you became aware that somebody purchased guns with the
intent of transferring it to a third person, would it be your practice
and experience to interdict those weapons right away?

A. Yes, yes.
Q. Is that your understanding of ATF policy?
A. Yes.’

However, under Fast and Furious in Phoenix, agents did not follow these methods. As
Special Agent Lawrence Alt testified:

Q. [js it fair to say that if you saw a suspect, a suspicious person . . .
leaving an FFL with . . . an armful of boxes that appeared to be
AK-47s or like weapons, that in your experience as an agent, I
mean, would you be able to interdict that?

A. That would be my normal course of action. I understand there is
other strategies wherein you are trying to identify where those
firearms are going to. So you might not interdict them until they
are delivered, or if you have investigative measures in place to
follow them, you might let them go to . . . what you believe is their
ultimate destination.

But prior to my coming to Phoenix, Arizona, I had never
witnessed a firearm not — I never witnessed a situation where
there wasn’t at least an attempt to interdict or take the firearm at
some point.

 

’ Transcribed Interview of ATF Special Agent Olindo James Casa Transcript, at 18 (April 28, 2011) (on file with
author) [hereinafter Agent CasaTranscript].

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[Y]ou might allow the suspicious person to leave the FFL with a
car full of weapons, you might make a decision not to do a traffic
stop right then, but is it fair to say that you would want to follow
that suspect?

I have had experiences or been aware and involved either directly
or indirectly in experiences where we knew there was illegal
firearms purchases. Follow the gun was also the motto, follow the
gun, stay with the gun.

I am aware of a couple of instances in my past where people would
sit on houses all night long, days on end, waiting for the guns to go
so that they could then follow it, satisfy the requirements of the
investigation. . . . But I have never been involved in a situation
where you would simply not do anything.*®

This changed when the Agent Alt arrived in Phoenix.

Agent Casa recounted a similar situation. He had also never heard of, nor seen, guns
being allowed to walk until he got to Phoenix:

Q.
A.

.... But from the time I started as an ATF special agent. . . up
until the time I got to Phoenix, that was my understanding, that we
do not let guns walk, absolutely, positively not. And if we — if
ever a case [where] we would do that, there better be a really good
explanation why we did not grab that gun when we could.

But that changed when you came to Phoenix, I mean the practice at
least changed, correct?

Yes.
So that occurred while you were here?

9
Yes.

ATF policy is clear and unambiguous. As Agent Casa further explained:

Q.

A.

So could you — are you saying if you determine that somebody has
acquired a firearm unlawfully —

Correct.

 

* Transcribed Interview of ATF Special Agent Lawrence Alt, Transcript at 37-39 (April 27, 2011) (on file with
author) [hereinafter Agent Alt Transcript].
* Agent Casa Transcript, at 92.

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Q. — ATF’s policies and procedures would be to interdict that
weapon?

A. Yes. Yes,'°

Agent Dodson said it succinctly:
So my training and experience with ATF as well as with law
enforcement prior to then essentially is you interdicted a gun

whenever you could. Guns didn’t go.'!

A third agent, Special Agent Peter Forcelli, spoke of the importance of interdicting these
weapons:

Q. Did you have any kind of policy regarding gun trafficking, in other
words ... was your policy to interdict guns whenever possible?

A. Absolutely.'

Every single agent on every single prior assignment adhered to a policy to interdict weapons as
soon as possible, until] Fast and Furious. As one agent put it, “It’s like they grabbed the ATF
rulebook and threw it out the window.”"*

V. Gunwalking Defined: It’s Semantics

 

FINDING: DOJ relies on a narrow, untenable definition of gunwalking to claim
that guns were never walked during Operation Fast and Furious.
Agents disagree with this definition, acknowledging that hundreds or
possibly thousands of guns were in fact walked. DOJ’s misplaced
reliance on this definition does not change the fact that it knew that
ATF could have interdicted thousands of guns that were being
trafficked to Mexico, yet chose to do nothing.

The Department of Justice has repeatedly and steadfastly denied that any guns were
walked under Operation Fast and Furious. According to the narrowest possible interpretation, a
gun is walked only when an ATF agent physically places an AK-47 into the hands of a straw
purchaser and then lets that straw purchaser walk out of sight. Conversely, every single ATF
field agent interviewed stated that guns are walked when ATF has the opportunity to interdict
illegally purchased weapons, yet chooses not to even try.

 

'° Agent Casa Transcript, at 17.

'' Agent Dodson Transcript, at 19.

'? Transcribed Interview of ATF Special Agent Peter Forcelli, Transcript, at 25 (April 28, 2011) (on file with author)
{hereinafter Agent Forcelli Transcript].

'S Telephone interview with ATF Special Agent A.

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DOJ officials must have known that straw purchasers were buying guns illegally and
transferring them to third parties for trafficking across the border. This was clear, or at least
should have been clear, from the following factors:

(1) the sheer volume and frequency of the purchases,
(2) ATF’s and DOJ’s communications with the cooperating gun dealers,

(3) the contemporaneous notice dealers provided about hundreds of transactions with
straw purchasers, and

(4) notifications through the Suspect Gun Database that the firearms were being
recovered in crime scenes in Mexico shortly after being purchased.

Yet, ATF failed to use this information to interdict future purchases and prevent guns
from crossing the border.

Instead, ATF followed DOJ’s new policy, and focused on simply trying to identify more
and more members of the trafficking ring. It was a conscious decision to systematically avoid
interdicting guns that normally should have been interdicted, according to the agents. Thus, the
agents considered it to be gunwalking. Agent Dodson testified:

My understanding of letting something walk or defining walk is,
when it was in or could have been in and quite possibly should
have been in law enforcement custody, a decision is made, a
conscious decision is made to not take it into custody or to release
it. Then it is walked. . .. [Y]ou are talking about walking dope,
walking money, walking anything else. To walk a firearm was
never taught. It was what we consider a no-brainer.'*

As the agent explained, ATF did not teach agents to walk firearms as such a practice was
beyond comprehension. Agent Casa provided a similar understanding of gunwalking:

Now, when I talk about walking guns, my understanding is that is
when a person we suspect or have probable cause that a person
illegally came across guns, whatever way they came across it, and
we have knowledge of it and we are there and we do not interdict
those guns, we do not take those guns, we do not do any
warrantless seizure based on probable cause of those guns. That
would be my understanding of letting guns walk.'°

Agent Forcelli defined gun walking as follows:

.... If you can interdict it and you don’t, in my opinion you have
walked it. There are times . . . we do a car stop, the person maybe

 

'* Agent Dodson Transcript, at 18-19.
'S Agent Casa Transcript, at 17.

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bought two guns, they would have a story that was reasonable.
They had a pay stub . . . that indicated they had a salary or they had
a — they can articulate why they bought it. A couple times it
happened. Like I said, maybe twice they went on their way.
Okay.

But again . . . walking guns, in my opinion, is if you can stop it and
you don’t. There are some whose definition is if ATF has the gun
and gives it, then we are walking it.'®

Agent Alt also acknowledged two definitions of gunwalking:

So I call that the two versions of walking a gun. There is, it is a
semantics issue. Some people will say that only the purest
definition is walking a gun. Some people won’t acknowledge that
the other version is walking a gun. And I say potato, you say
potato. I believe it is, my assessment, they are the same. That’s
It.

Regardless of which definition one subscribes to, the two situations both warrant action.

Still, DOJ and some senior ATF officials maintain that federal agents did not sanction or

knowingly allow the transfer of firearms to straw purchasers. Yet, the evidence demonstrates
that DOJ and ATF were well aware of what was happening.

Phoenix Field Division leadership did not tolerate debate or dissent from agents over
terminology or strategy. Agent Dodson testified:

Q.

I believe you mentioned that there was some dispute about exactly
what gun walking meant.

* ok *

And can you describe what the difference was, difference of
opinion was?

Well, yes, sir... . Again, as I said earlier, my understanding of gun
walking . . . has been something was and/or should have been,
could have been in law enforcement custody. When we should
have done something and it wasn’t, you have let it walk.

There has to be an active decision . . . a choice is made to allow it
to walk. It is not like something got away from you or you lost it.
If a suspect beats you in a foot chase and he gets away, you didn’t
let him walk, you just lost the chase. So that’s what walking is.

 

'® Agent Forcelli Transcript, at 33.
"7 Agent Alt Transcript, at 50.

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When [the Assistant Special Agent in Charge] came down to our
office . . . we were told you don’t know what walking is, we are
not walking guns. And that’s pretty much the extent of the debate,
because in Phoenix there is very little debating one of the ASACs
or the [Special Assistant in Charge]. So it was . . . a declaration,
you don’t know what walking guns is, we are not walking guns,
this is all okay.'*

Regardless of whether it meets a technical definition of gunwalking, the strategy was
clearly ill-conceived. Instead of candidly acknowledging the facts and working to correct the
problem, DOJ has withheld critical information from Congress and the public, obfuscating the
issuc,

VI. Concerns about Gunwalking: “What the Hell is the Purpose
of This?”

 

ATF special agents in Group VII expressed many concerns about the strategies employed
during Fast and Furious. None of the agents had ever before allowed a gun to “walk.” None of
the agents had even heard of allowing a gun to be “walked.” The ATF academy does not teach
agents to walk weapons, and the practice is abhorrent. Yet, in this operation, veteran ATF agents
acted against their training and well-established ATF practice in allowing guns to walk right out
of their sight. In spite of the agents’ frustration and dismay, ATF leadership from Phoenix to
Washington refused to acknowledge the validity of their concerns.

A. Concerns Fall on Deaf Ears and Meet Resistance

FINDING: ATF agents complained about the strategy of allowing guns to walk in
Operation Fast and Furious. Leadership ignored their concerns.
Instead, supervisors told the agents to “get with the program” because
senior ATF officials had sanctioned the operation.

When agents learned that the tactics used in Fast and Furious required guns to be walked,
many veteran special agents criticized and rebelled against the policy. These agents felt
hamstrung, given that they could not use the training they had received throughout their careers.
As Agent Dodson testified:

Q. Based on our training and experience, what did you think about
[walking guns]?

A. It was something I had never done before, sir. And quite frankly, I
took great issue with it and concern. I felt like I understand the

 

'8 4 gent Dodson Transcript, at 90-92.

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importance of going after the bigger target, but there is a way to do
that. We did it successfully in the dope world all the time. And
those skills and practices that we used there, a lot of them transfer
over, and more than applicable in gun trafficking investigations,
but we weren’t allowed to use any of them.

Q. And did you ever have a recollection of sharing your frustration
with Special Agent Casa?

Oh, yes, sir.
And any other special agents that you can —
Yes, sir.

And maybe you could just tell us what other agents you —

r Oo PF DD Y

Pretty much everyone, sir. It was, I shared my reservations and concerns
with Special Agent [L], with Dave Voth, with Special Agent [D] Special
Agent [H], Special Agent Alt, Special Agent [P], several of the special
agents that came on the GRIT, G-R-I-T. The gunrunner initiative is what
it stands for. I shared them with or I voiced my concerns to other agents
inside the Phoenix field division that was on other groups."

Agents felt compelled to speak up within days after joining Group VII. Agents
complained to their superiors, to no avail. The agents, new to Phoenix, had to comply:

Q. So the special agents in Group 7 objected to this amongst themselves.
And at what point did feedback start to get communicated up the chain,
whether it was to the case agent, Special Agent [L], or Group Supervisor
Voth?

A. Oh, it was almost immediately before we had . . . Special Agent Casa and I
had taken it up with Special Agent [L], Special Agent [D], and as well as
Group Supervisor Voth.””

Having launched an innovative strategic plan, ATF senior leadership at Phoenix was
excited at the prospect of a new way of combating drug cartel activity. ATF and DOJ leadership
both approved of this plan. As such, ATF Phoenix leadership were loathe to let disgruntled field
agents scuttle their signature achievement. In this matter, a great divide developed between
those who knew walking guns was a bad policy and vehemently spoke out against it, and those
who believed walking guns was an effective policy.

 

'° Agent Dodson Transcript, at 40-41.
*0 Agent Dodson Transcript, at 42.

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A widely discussed e-mail from Group VII Supervisor David Voth best summarizes the
divide that had emerged in Group VII, with senior special agents on one side, wanting to stop the

operation, and those in the ATF chain of command on the other, wanting to continue the gun
walking:”

 

It has been brought to my attention that there may be a schism developing amongst the group. This Is the time we all
need to pull together not drift apart. We are all entitled to our respective (albeit different) opinions however we all
need to get along and realize that we have a mission to accomplish.

{am thrilled and proud that our Group is the first ATF Southwest Border Group in the country to be going up on wire.

On that note | thank everyone for their efforts thus far and applaud the results we have achieved in a short amount of
time.

Whether you care or not people of rank and authority at HQ are paying close attention to this case and they also believe
we (Phoenix Group VII) are doing what they envisioned the Southwest Border Groups doing. It may sound cheesy but
we are “The tip of the ATF spear’ when It comes to Southwest Border Firearms Trafficking.

We need to resolve our issues at this meeting. | will be damned if this case is going to suffer due to petty arguing,
rumors or other adolescent behavior.

| don’t know what all the issues are but we are all aduits, we are all professionals, and we have a exciting opportunity to
use the biggest tool in our law enforcement tool box. If you don’t think this is fun you’re in the wrong line of wark —
period! This is the pinnacle of domestic U.S. law enforcement techniques. After this the tool box isempty. Maybe the

Maricopa County Jail is hiring detention officers and you can get paid $30,000 (instead of $100,000) to serve lunch to
inmates all day.

 

 

 

Despite this e-mail, agents continued to experience dismay and frustration as Operation
Fast and Furious continued along its perilous path. As Agent Casa testified:

Q. And is it fair to say that . . . the folks on your side of the schism
wanted to do everything they could to interdict these weapons so
they wouldn’t get any farther down the street than they have to?

A. Yes, sir. We were all sick to death when we realized that - when
we realized what was going on or when we saw what was going on
by the trends. We were all just, yes, we were all distraught.”

The rift widened when the Assistant Special Agent in Charge (ASAC) authoritatively and
unambiguously told Group VII that guns were not being walked, that the special agents were
incorrect in their terminology, and that there would be no more discussion or dissension about
this topic. Agent Dodson testified:

A. Then we get an e-mail that . . . there is going to be a meeting. [the
ASAC] is coming down, [the ASAC] comes into the Group 7
office and tells us essentially we better stand down with our
complaints, that we didn’t know what the definition of walking

 

*! Email from Group VII Supervisor David Voth to Phoenix Group VII (Mar. 12, 2010).
> Agent Casa Transcript, at 41.

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guns was, we weren’t familiar with the Phoenix way of doing
things, that all of this was sanctioned and we just needed to
essentially shut up and get in line. That’s not a quote, but that’s
the feel of the meeting, so...

Do you remember approximately when that occurred?

It was right after we went to the Group 7 building, so it had to be
late February, carly March 2010.”

Even some - outside Group VII - with reservations about the practice, indicated that they
gave them the benefit of the doubt because the case was being supervised by the U.S. Attorney’s
office. Agent Forcelli testified:

And I expressed concern . . . about that. And I believe some of
those guns were purchased historically. It wasn’t like 1200 were
watched to go, but apparently they weren’t interdicting either. And
his response was . . . if you or I were running the group . . . it
wouldn’t be going down that way and that the U.S. Attorney is on
board, and it was Mr. [Emory] Hurley, and they say there is
nothing illegal going on.”

B. Tragic, Yet Foreseeable Results

FINDING:

trafficked to Mexico, tragic results were a near certainty.

Agents knew that given the large numbers of weapons being

Since Group VII agents were instructed not to interdict as early and as often as they
believed they should, the agents quickly grasped the likelihood of tragic results. Agent Alt

testified:

Q.

At any point in time did you have communications that . . . this is
going to end terribly, there is going to be deaths?

I know that was talked about . . . the probability of a bad situation
arises with the number each — as the number of firearms increases,
meaning firearms that are out and outside of our control in this
environment with this type of a case, which we are talking about a
firearms trafficking case, southwest border firearm trafficking
case, I only hope the case agent knows where they are going. But
they are out there and they are not accounted for by us, at least that
I am aware of. So there is certainly a greater probability and a
greater liability.

 

°3 Agent Dodson Transcript, at 44.
*4 Agent Forcelli Transcript, at 36.

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The most frustrating aspect of the gunwalking policy for the agents was that they

I can tell you that as early as June of last year I predicted to some
of my peers in the office that we would be sitting right where we
are today in this room.

Speaking with Congressional investigators?

That this would be in front of a Congressional investigation. And I
was in agreement with Agent Dodson that someone was going to
die. And my observations in the office were there was an
overwhelming concern, even amongst those persons on the other
side of the schism, if I can use that term, that something bad was
going to happen.

* OK OK

And is it fair to say that anxiety is heightened because of the
possibility of some of these guns getting into the hands of
criminals and being used against your fellow law enforcement
agents?

Yes. And it is not even the possibility, because we know that they
were procured unlawfully. So if we know that from the beginning,
they are already in the hands of criminals, so now we are simply
dealing with what is the consequence of that.”°

believed they could have interdicted and stopped the guns from walking.

When agents arrived in Phoenix in December 2009, they believed there was already
enough information to arrest the straw purchasers, try to flip them, and begin working up the
chain with an eye toward “bigger fish” in the organization. Yet, the fall of 2009 brought a
remarkable departure from the normal practice of interdiction. ATF’s strategy explicitly stated
that it would allow straw purchasers to buy weapons, and that’s exactly what happened. Agent
Dodson testified:

Q.

With the new resources in Group 7 in the fall of ‘09... . you talked
about some of the special agents that were joined, if all of you had
interdicted the weapons as you saw them, what percentage do you
think you could have prevented from sort of entering the stream . .
. if you read the press accounts of this, it is somewhere along the
lines of 2,000 firearms have disappeared. How many do you think
you and your colleagues would have been successful to interdict?
Is it 10 percent, 50 percent?

 

*5 Agent Alt Transcript, at 120-122.

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A. Well, the question is kind implausible, sir... . When we hit the
ground in Phoenix, say, and the original 40 straw purchasers were
identified, and I can’t remember if it is 240 or 270 guns that they
knew at that point that these guys were responsible for, you take,
you minus that 270 from the estimate of 2,000, and whatever you
have left is what we could have prevented.

Because we should have landed on every one of those people the
minute that we hit here. And the ones that we landed on that we
couldn’t make cases on, at least they would have been on notice
that we were watching and they would have stopped buying, or
every time they did, the flag went up and we could have been on
them then.

And of all the ones that we didn’t land on, several of them would
have spoken to us, a couple of them even maybe would have
worked for us as a confidential informant or sources, which is how
you climb the ladder in an investigation into an organization.
Sitting back and watching isn’t it. Okay? If you are watching a
TV show at that point of the wire, you are not doing your job.
Your job is to get out here and make a difference. And we could
have done it when we hit the ground. So what are we talking?
1730, to answer your question, is my opinion of how many of
these firearms that we could have and should have prevented from
ever being purchased by these individuals and subsequently
trafficked to known criminals or cartel elements south of the
border and elsewhere.

Q. And is it fair to say if you started stopping these straw buyers as
soon as they left [the gun dealers], is it fair to say that perhaps the
drug trafficking organizations that they worked for would realize
we got to get out of Phoenix, we have got to go to Dallas, we have
got to go somewhere else, because Phoenix now has these new
resources and they are catching us?

A. Right, if not, come up with an entirely new alternative way to get
their weapons. If we shut down the whole straw purchasing
scenario here in Phoenix, or significantly hurt it to the point where
it is not advantageous for them to do so, you figure, if they are
paying $600 for an AK or AK variant, all right, for every one that
they buy we are taking off ten of them, okay, that’s, I mean in any
business sense that’s not a good idea. Ultimately you are paying
$6600 for one AK at that point. Am I correct? *°

 

26 Agent Dodson Transcript, at 61-63.

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Unfortunately, the agents’ complaints fell on deaf ears. As one ASAC noted, the policy
and Operation had been sanctioned. For many of the agents, the operation only fueled their
outrage. According to the agents, the operation failed to use their investigative strengths, honed
over dozens of years in law enforcement. Agents saw the whole operation as pointless, a poor
way to operate, and above all, dangerous. Agent Dodson testified:

Q. Can you be more specific about the instances in which you were
told not to use those techniques?

A. Oh, certainly. Well, every time we voiced concerns, every time we
asked the question. And this is so hard to convey because I
understand you guys weren’t there, you didn’t live it. But every
day being out here watching a guy go into the same gun store
buying another 15 or 20 AK-47s or variants or . . . five or ten
Draco pistols or FN Five-seveNs . . . guys that don’t have a job,
and he is walking in here spending $27,000 for three Barrett .50
calibers at... walks in with his little bag going in there to buy it,
and you are sitting there every day and you can’t do anything, you
have this conversation every day.

You asked me . . . a specific time where you voiced where you
want to do this. Every day, all right? It was like are we taking this
guy? No. Why not? Because it is not part of the plan, or it is not
part of the case. [Agent L] said no, Dave said no, [Agent E] said
no. What are we doing here? I don’t know. What the hell is the
purpose of this? I have no idea. This went on every day.”’

DOJ and ATF determined that the goal of making the big case was worth the risk of
letting hundreds and hundreds of guns go to criminals in the process. This conclusion was
unacceptable to the agents on the ground carrying out these direct orders. The agents knew they
were facilitating the sale of AK-47 variants to straw purchasers. Supervisors ignored complaints
and retaliated against agents who did complain by transferring them out of ATF Phoenix Group
VII. As Agent Dodson recalled:

Q. [A]t any point in time do you have a recollection of commiserating
with your colleagues, whether it was Special Agent Casa, whether
it was Special Agent Alt, or some of the other special agents that
were on sort of your side of the schism, for lack of a better word?
Do you ever recall saying . . . good grief, if we had just snatched
these guns at the FFLs we wouldn’t even be in this situation?

A. Oh, yes, sir, and not only with people on my side of the schism. I
mean this was why I was, I mean I guess we will get to this later,
but why I am no longer in Group 7, is because I addressed it with,
or primarily with those on the other side of the schism.

 

at Agent Dodson Transcript, at 113.

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ee *
Q. And is it fair to say at this point you are outraged?
A. Outraged and disgusted, however else you want to look at it.

Q. And is it fair to say that part of your outrage is because . . .
needless deaths are possibly occurring?

A. Oh, very much so, sir.

f), That countless number of crimes are being perpetrated with these
weapons that you and your colleagues may have facilitated —

A Yes. 8

CG Catastrophe Becomes Reality

This agent’s fear and outrage were realized by the death of Border Patrol Agent Brian
Terry, a member of the U.S. Border Patrol Tactical Unit, as well as the almost certain deaths of
countless Mexican citizens killed and the unknown amount of other crimes with weapons
stemming from Fast and Furious. In Fast and Furious, ATF wanted to design a unique way to
pursue the drug cartels. ATF and DOJ failed spectacularly to consider resulting negative
outcomes. As Agent Dodson noted:

Well, sir, if | may, and first of all, please everyone understand, |
am not on either, or either side of this political spectrum, nor do I
want to be. And quite frankly, it is unfathomable to me how both
sides or any person isn’t completely livid about what we have been
doing here. I cannot see anyone who has one iota of concern for
human life being okay with this, and being willing to make this
go away or not hold the people that made these decisions
accountable. I don’t understand it. And again, none of you owe
me an explanation, that’s just my personal opinion.””

VII. Witnessing Gunwalking: “We Did Not Stop Them.”

Fast and Furious required agents to stand down, ignoring their training and professional
instincts. Allowing guns to fall into the hands of the DTOs was the Operation’s central goal.
Even when agents were able to interdict weapons, they received orders to stand down.

 

*8 Agent Dodson Transcript, at 57-58.
*? Agent Dodson Transcript, at 101.

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A. Watching Guns Walk

FINDING:

Agents expected to interdict weapons, yet were told to stand down and

“just surveil.” Agents therefore did not act. They watched straw
purchasers buy hundreds of weapons illegally and transfer those

weapons to unknown third parties and stash houses.

During their interviews, several agents offered detailed descriptions of their observations
of suspected straw purchasers entering FFLs to purchase enormous quantities of assault rifles.
Following orders, they did not intervene. Agent Dodson remembered:

Q.

You got a guy that had purchased . . . 40 different AKs in the past
two months and .. . five or ten of them had already returned in
time to crime. So I thought here we go, we are going to start
interdicting people.

We — they would go in and buy another five or ten AK variants or
... five or ten FN Five-seveN pistols at a time, and come out. We
would see it. We would know .. . that whatever standard of
reasonable suspicion or probable cause was met, and we were
landing on somebody before the end of the day. But that didn’t
happen.

And that’s something you realized how early in your fieldwork,
first or second day?

Oh, yes, sir. I mean first or second day you are starting to question
why aren’t we doing this. And then by the end of the week it was .
. . frustration already as to how many guns have we watched these
guys get away with.

In your first week, can you make an estimate of how many guns
you saw get loaded into a vehicle and driven away? I mean, are
we talking like 30 or one?

Probably 30 or 50. It wasn’t five. There were five at a time.
These guys didn’t go to the FFLs unless it was five or more. And
the only exceptions to that are sometimes the Draco, which were
the AK variant pistols, or the FN Five-seveN pistols, because a lot
of FFLs just didn’t have ... 10 or 20 of those on hand.*°

 

30 Agent Dodson Transcript, at 33-34.

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Witnessing, but not contacting, straw purchasers buying weapons from FFLs became
common practice for Group VII field agents in Phoenix. Agents sometimes conducted minimal
surveillance following the purchases. Sometimes they conducted no surveillance. As Agent
Dodson testified:

We witnessed one of the individuals . . . the known straw
purchasers arrive, go in. Sometimes one of us would actually be
inside the FFL behind the counter. Sometimes if we had enough
lead way we would go to the suspect’s house and follow him from
there to the FFL, or to a meeting . . . just prior to and see an
exchange. *'

Typically, agents ended surveillance of both the guns and the straw purchasers. Agent

Alt testified:

Q.

A.

Watched and/or was aware — I shouldn’t say watched — was aware
that purchasers were routinely making purchases . . . at least in one
case suspects who were known to be purchasing for other people
were buying firearms with funds that were known to come from
other people. And those firearms were not interdicted. Those
firearms often went to a house or a place, and then surveillance
was terminated there. So the disposition of the particular firearm
may or may not have been known.

And did that happen frequently?

Yes.”

B. Ordered to Stand Down

Superiors specifically ordered field agents to “stand down” despite establishing probable
cause that a straw purchase had occurred. Agent Casa testified:

Q.

And you were instructed or under orders from the case agent and
group supervisor to do what, to do nothing?

Well, when I would call out on surveillance, yes, I was advised do
not — I would ask do we want to do a traffic stop, do we want to — |
will throw another definition, you guys have probably heard this. I
am sorry, guys. I don’t know what you heard or didn’t. It is called
“rip.” It is a slang for saying we are going to do a warrantless
seizure of those firearms once we establish probable cause.

 

*' Agent Dodson Transcript, at 39.
*? Agent Alt Transcript, at 50.

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Yeah ... one of those days | called the case agent on the Nextel,
said, hey . . . our straw purchaser, one of our targets has transferred
the guns, he is driving south. This unknown person that just got
delivered the firearms probably . . . all intents and purposes gave
the straw purchaser the money to buy the guns had all the guns and
he is going north. Hey, why don’t we go ahead and stop that
vehicle, rip the guns, and you can do what you want, we can arrest
them. We don’t have to arrest them. But we will grab the guns.
And they said no. And I said this person is an unknown person.
Well, you got the license plate. Well, it can be, that car could be
registered to anybody, we don’t know who that person is, let’s at
least do a vehicle stop so we can ID the person so maybe later we
could get the guns back. No, just surveil. *°

Agent Forcelli recounts that situation from a different point of view:

Well, as I said, there was that GRIT, people at command. And
there was an instance where an agent was yelling over the radio. . .
. There were a bunch of people milling around. And we heard an
agent that sounded like he was in distress.

And what happened was he was attempting to do a car stop. And
we heard a female agent... telling him to stand down and not do
the car stop. I later found out there were guns in the car and that
the agent felt distressed because they had made him on the
surveillance. So to let the guns go, it doesn’t make any sense to
me if you are burned.

Do you know who the agent was?
A. Yes. It was Agent Casa.

Q. And so you specifically yourself heard him on the radio saying
something to the effect I want to go get these guns now?

A. Yeah. And again, the reason, being a cop for so long you hear so
many things on the radio, but you always can tell when somebody
is in distress by the tone of their voice. As a cop you start racing to
the scene before you actually hear the call. This was a similar
instance, where you can tell by the tone of his voice something
wasn’t right.

Later on I spoke with him. And he said that a car had almost come
at him. That’s how aggressive they had become during the
surveillance. And that’s why he was so excited on the radio. But

 

3 Agent Casa Transcript, at 41-43.

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he was told to not stop the car with the guns in it, which to me
makes no sense.**

Agent Dodson described the situation:

A.

I remember one time specifically we had been following this
individual for so long to so many places that day . . . money
pickups, gun drops, FFLs, and he got into an area of the city and he
just started doing crazy [Ivans] . . . [like] unexplainable U-turns.
He is doing heat runs, trying to burn surveillance, whatever cliché
you want to use.

So we knew we were made. Okay? We are made. He knows we
are following. He knows we have been following him for awhile
and we haven’t done anything. We have to do something. I mean
you have to do — we have to pull him over. We have to interact
with him at some point. If not, he is always going to wonder, well,
why are you following me. At least, for no other reason than a
ruse, pull him over because . . . he did that illegal U-turn and
whatever we need.

We did it when I worked dope all the time. If they made
surveillance, what did you do? Hey, there’s an armed robbery
back there, you guys match the description. No, you are not them.
All right, later. And then we don’t heat them up too bad. We
weren’t allowed to do that, not even for a ruse situation. I mean
there is a verbal screaming match over the radio about how .. .
what are you talking about? There is no better time or reason
to pull this guy over than right now,

So, in other words, whatever arguments might have been made
before with regard to the specific instance that you are referring to
about the utility of letting them continue their operations without
knowing that you are onto them so that you can then follow and
see where it goes, all those arguments go away at the point they
made the fact they are being surveilled, right?

35
Correct.

Unfortunately, ordering special agents to “stand down” when they planned to interdict
guns became the norm. As Agent Dodson testified:

Q.

Can you recollect a time when you were conducting surveillance
on an FFL and you saw firearms being loaded into a car when you

 

** Agent Forcelli Transcript, at 60-62.
** Agent Dodson Transcript, at 116-117.

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Other agents had similar experiences in being told to stand down. Agent Casa

remembered:

said to your colleague we got to go, we got to go seize this now, I
understand the direction we have been given, but this is bad stuff,
these are bad people, we need to go just —

Yes, sir.
And did you ever do that?

No, sir. We were, at the time, one of the incidents that I recall
specifically, Special Agent [D] was in the wire room at the time.
We had been directed by both case agent and group supervisor that
absent both of them, she is in charge. When we were
communicating the interdiction that we were going to make over
the radio, she, monitoring the radio traffic in the wire room, came
back over and ordered us to stand down.

I debated this with her, probably far more lengthy than I should
have over the radio, and again ultimately was just ordered to stand
down. There were actually more than one of these discussions
with her and Group Supervisor Voth, as well as with Special Agent
[L], when / thought we had a duty to act, that that was
nonfeasance on our part by not doing so. And each time I was .. .
told to stand down and somewhat reprimanded afterwards for
voicing it.°°

And a situation would arise where a known individual, a suspected
straw purchaser, purchased firearms and immediately transferred
them or shortly after, not immediately, shortly after they had
transferred them to an unknown male. And at that point I asked
the case agent to, if we can intervene and seize those firearms, and
I was told no.*”

These were not isolated incidents. Group VII members discussed, debated, and lamented
walking guns on a daily basis, but the practice continued. Agent Casa testified:

Q.

A.

And what did you observe during your surveillance?

[I] observed suspected straw purchasers go to area federal firearms
licensees, FFLs, go into the store, walk out with a large number of
weapons, get into a vehicle, drive off.**

 

36 Agent Dodson Transcript, at 45-46.
*” Agent Casa Transcript, at 33.
38 Agent Casa Transcript, at 29.

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C. “We Were Walking Guns. It was Our Decision.”

As all of the accounts from numerous ATF agents demonstrate, ATF intentionally and

knowingly walked guns, One of the ASACs in Phoenix reported that this policy was

“sanctioned.” To allow these guns to be bought and transferred illegally was a conscious and
deliberate decision, not merely by failing to take action to interdict, but also by giving the green
light to gun dealers to sell to known straw purchasers. By sanctioning the purchases even after
dealers expressed concerns, ATF agents said they were actually facilitating the transactions:

Q.

A.

And essentially you witnessed guns walk; that was not consistent
with your training and experience?

Sir . . . by the very definition of allowing them to walk, if I
witnessed guns walk, that means it is another agency’s operations.
If I go help another agency and this is their op, then I witnessed
guns walk.

We were walking guns. It was our decision. We had the
information. We had the duty and the responsibility to act, and
we didn’t do so. So it was us walking those guns. We didn’t
watch them walk, we walked.*”

Agent Dodson later explains the consequences:

Q.

That countless number of crimes are being perpetrated with these
weapons that you and your colleagues may have facilitated --

Yes.
-- moving into the hands of the bad guys?

Yes, sir. I would argue that it wasn’t a “may have facilitated.”
It was facilitated. These FFLs wouldn’t have made these
purchases. I mean they addressed their concerns to, I mean to ATF
both formally as well as to us when we were inside getting copies
of the forms, that this whole —

The genesis of this case was when they were calling in these
people that they knew. This guy comes in, buys 10, 15, 20 AKs
or ... a 22-year-old girl walks in and dumps $10,000 on...
AK-47s in a day, when she is driving a beat up car that doesn’t
have enough metal to hold hubcaps on it. They knew what was

 

39 Agent Dodson Transcript, at 41.

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going on. The “may have facilitated” to me is kind of erroneous.
We did facilitate it. How are we not responsible for the ultimate
outcome of these [g]uns?”°

Vill. Collateral Damage: A Fast and Furious Inevitability

 

An increase of crimes and deaths in Mexico caused an increase in the recovery of
weapons at crime scenes. When these weapons traced back through the Suspect Gun Database to
weapons that were walked under Fast and Furious, supervisors in Phoenix were giddy at the
success of their operation.

A. Increasing Volume Equals Increasing Success

FINDING: Operation Fast and Furious contributed to the increasing violence
and deaths in Mexico. This result was regarded with giddy optimism
by ATF supervisors hoping that guns recovered at crime scenes in
Mexico would provide the nexus to straw purchasers in Phoenix.

Since ATF supervisors regarded violence and deaths in Mexico as inevitable collateral
damage, they were not overly concerned about this effect of the Operation. Quite the opposite,
they viewed the appearance of Fast and Furious guns at Mexican crime scenes with satisfaction,
because such appearances proved the connection between straw purchasers under surveillance
and the DTOs. For example, Group VII Supervisor David Voth eagerly reported how many
weapons their “subjects” purchased and the immense caliber of some of these guns during the
month of March alone:

 

“° Agent Dodson Transcript, at 59.

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From: Voth, David J.

Sent: Friday, i) 02, 2010 10:31 AM

To:

Ce: Phoe-Group VII

Subject: No pressure but perhaps an increased sense of urgency...

MEXICO STATS

958 killed in March 2010 (Most violent month since 2005)
937 killed in January 2010

842 killed in December 2009

SPNALOA - MARCH STATISTICS

1&7 murders in March, including 11 policemen

| hope this e-mail is well received in that it is not intended to imply anything other than that the violence in Mexico is
severe and without being dramatic we have a sense of urgency with regards to this investigation. Our subjects
purchased 359 firearms during the month of March alone, to include numerous Barrett .50 caliber rifles. | believe we
are righteous in our plan to dismantle this entire organization and to rush in to arrest any one person without taking in
to account the entire scope af the conspiracy would be Ill advised to the overall good of the mission. | acknowledge that
we are all in agreement that to do so properly requires patience and planning. In the event however that there is
anything we can do to facilitate a timely response or turnaround by others we should communicate our sense of urgency
with regard to this matter.

Thanks for everyone’s continued support in this endeavor,
David Voth

Group Supervisor
Phoenix Group VII

 

 

 

The agents within Group VII described Voth’s reaction to all this gun violence in Mexico
as “giddy.”"' In addition to this e-mail, private conversations they had with Voth gave them the
impression that Voth was excited about guns at Mexican crime scenes subsequently traced back
to Fast and Furious. Agent Dodson explains:

Q. Then there is an e-mail that was on CBS news that I made notes
about written on April 2, 2010 by Group Supervisor Voth?

A. Yes, sir.

Q. And he reported that our subjects purchased 359 firearms during
March alone.

A. Yes, sir.

Q. That there were 958 people killed in March of 2010.

 

*! Agent Dodson Transcript, at 118.

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A.

Yes, sir.

And he was . . . he was essentially trumpeting up the violence that
was occurring as a result of an ATF sanctioned program, is that
correct?

Agent or Group Supervisor Voth took that, or the way that he
presented that to us was look here, this is proof that we are
working a cartel, the guns that our guys are buying that we are
looking at are being found, are coming back with very short time
to crime rates in Mexico in known cartel related violence, and the
violence is going through the roof down there, we are onto a good
thing here.

The e-mail further goes on and says there was 937 killed in
January 2010, 842 killed in December, 2009. The numbers are

increasing?

42
Yes, sir.*

This evidence established a nexus between straw purchasers in the United States and the
DTOs in Mexico, bringing ATF one step closer to catching the “bigger fish.” This strategy of
letting the “little fish” go in order to capture the “bigger fish” was the ultimate goal of Phoenix
Group VII. As Agent Dodson explained:

Q.

Okay. So earlier we were discussing an e-mail that . . . was
describing from Mr. Voth where he appears to present the crimes
in Mexico. You said something to the effect that he was, he was
presenting the guns being recovered in Mexico as proof that you
were watching the right people.

Correct.

And that the increasing levels of violence were proof you were on
the right track, essentially.

I just wanted to clarify. Is that, when you were saying those
things, was that your reading of his e-mail, or do you recall other
conversations that you had with him outside of the e-mail that .. .
this was evidence that you were on the right track?

Well, both. I get that impression from reading his e-mail, but
perhaps I get that impression because of knowing him how well I
did.

 

® Agent Dodson Transcript, at 56-57.

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There were several instances. Whenever he would get a trace
report back .. . he was jovial, if not, not giddy, but just delighted
about that, hey, 20 of our guns were recovered with 350 pounds
of dope in Mexico last night. And it was exciting, To them it
proved the nexus to the drug cartels. It validated that . . . we were
really working the cartel case here.”®

Agent Alt described in great detail his disgust at the self-satisfaction of ATF leadership
for sending guns into what they knew to be a war zone. He also expounded on his view that the
Group Supervisor should have been more concerned with those deaths in Mexico rather than
with motivating his team. He testified:

Why then do we stand by and try to motivate agents to do
something more to stem the homicides . . . with no further mention
on the homicides and correlate that with the number of guns
recovered in Mexico in a given month, when we should be saying
how many of those guns left this state that we knew about in
relationship to our cases in conjunction with these murders? That
didn’t happen.“

B. “You Need to Scramble Some Eggs”

According to the ATF agents, their supervisors in Phoenix were sometimes shockingly
insensitive to the possibility the policy could lead to loss of life. Agent Dodson explained:

Q.

A.

[S]omebody in management . . . used the terminology “scramble
some eggs.”

Yes, sir.

If you are going to make an omelette you have got to scramble
some eggs. Do you remember the context of that?

Yes, sir. It was — there was a prevailing attitude amongst the group
and outside of the group in the ATF chain of command, and that
was the attitude. . . . I had heard that . . . sentiment from Special
Agent [E] Special Agent [L], and Special Agent Voth. And the
time referenced in the interview was, I want to say, in May as the
GRIT team or gunrunner initiative team was coming out. I was
having a conversation with Special Agent [L] about the case in
which the conversation ended with me asking her are you prepared
to go to a border agent’s funeral over this or a Cochise County

 

* Agent Dodson Transcript, at 117-118.
“ Agent Alt Transcript, at 174.

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deputy’s over this, because that’s going to happen. And the
sentiment that was given back to me by both her, the group
supervisor, was that . . . if you are going to make an omelette, you
need to scramble some eggs.”

C. An Inevitable and Horrible Outcome

The increasing number of deaths along with the increasing number of Fast and Furious
guns found at Mexican crime scenes evoked a very different reaction among the line agents.
They had great anxiety about the killings across the border. Their concern focused on reports of
shootings and assaults of law enforcement officials. They worried openly of the consequences of
walked weapons used to shoot a police officer.

This worst-case scenario came to fruition when United States Border Patrol Agent Brian
Terry was murdered and two “walked” AK-47 rifles were found at the scene of the murder.
Agent Forcelli described the mood following the Terry murder:

Q.

Agent Alt explained the process by which ATF learned that weapons were being

Do you recall any specific conversations that you had about after,
after learning that . . . two of the guns at the scene had been traced
back to the Fast and Furious case?

[T]here was kind of a thing like deja vu, hey, we have been saying
this was going to happen. The agents were pretty livid and saying
exactly that. We knew. How many people were saying this was
going to happen a long time before it did happen?

And then there was a sense like every other time, even with Ms.
Giffords’ shooting, there was a state of panic, like, oh, God, let’s
hope this is not a weapon from that case. And the shooting of Mr.
[Zapata] down in Mexico, I know that, again, that state of panic
that they had, like please let this not come back.

This was an embarrassment . . . that this happened to the agent,
tragic. I mean my heart goes out to this family. I lost colleagues,
and I couldn’t imagine the pain they were going through. And it
made it painful for us, even those not involved in the case, to think
ATF now has this stain.*°

trafficked into Mexico.

Q.

But how would you identify that they ended up in Mexico?

 

“S Agent Dodson Transcript, at 135-136.
46 Agent Forcelli Transcript, at 127-128.

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Well, there is a variety of ways. One . . . you would identify where
they are going by virtue of recoveries that are happening in crimes
or interdictions. . . . So you identify that they are going south. And
I think then the strategy, if I understand it, is that the firearms are
then, once . . . they are going south, you try and follow them and
figure out where they are going and to who they are going to tie to
a greater organization and more people, identify the hierarchy of
the organization. That’s the strategy.

And I don’t know how you perfect a case doing that when you
don’t have the guns. . . . But the strategy to me would have to be
that there has got to be some measure of accounting or follow-up
as to where they end up.’

The notion that these guns moved into Mexico and aided the drug war distressed the ATF
field agents, including Agent Casa:

Q.

A.

A.

It was a likely consequence of the policy of walking guns that
some of those guns would wind up at crime scenes in Mexico?

Yeah.

And is it fair to say that some, if not many, of these crime scenes
would be where people would be seriously injured or possibly
killed?

Of course.

So is it a fair, predictable outcome of the policy that there
would be essentially collateral damage in terms of human
lives?

4
Sure.*®

Agent Casa also emphasized that those who planned and approved Operation Fast and
Furious could have predicted the ensuing collateral violence:

I feel for the family of Agent Terry, I feel for his death. . . . I don’t know
how some of the people I work with could not see this was going to be an
inevitable outcome, something like this happening. And I don’t know
why they don’t think that six months from now this won’t happen again,
or a year from now, a year and a half from now.

 

a Agent Alt Transcript, at 160-161.
8 Agent Casa Transcript, at 126-127.

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But I don’t know the exact number of guns that were put out into the
streets as a result of this investigation. But they are not going to
disintegrate once they are used once. They are going to keep popping up
over and over and over.”

D. The Pucker Factor

FINDING: _ Every time a law enforcement official in Arizona was assaulted or
shot by a firearm, ATF agents in Group VII had great anxiety that
guns used to perpetrate the crimes may trace back to Operation Fast
and Furious.

The design defect of Fast and Furious was its failure to include sufficient safeguards to
keep track of thousands of heavy-duty weapons sold to straw purchasers for the DTOs. ATF
agents did not maintain surveillance of either the guns or the straw purchasers. The guns were
therefore lost. The next time law enforcement would encounter those guns was at crime scenes
in Mexico and in the United States. However, because ATF had contemporaneous notice of the
sales from the gun dealers and entered the serial numbers into the Suspect Gun Database, agents
were notified whenever a trace request was submitted for one of those walked guns. As Agent
Alt testified:

Q. [A] little bit earlier you talked about a level of anxiety, the anxiety
among the agents, perhaps even the supervisors, relating to
weapons that are found at crime scenes. There was a death, there
is a murder scene in Mexico. There is a trace that comes in of
some kind, and the weapon is then connected to a weapon that may
have been one of the weapons that were walked. . . . Is that
accurate?

A. Yes. I used the word anxiety. The term I used amongst my
peers is pucker factor.

Q. Pucker factor, precisely. But that’s what it is relating to? I am
saying that correctly, right?

A. Yes.

Q. And this pucker factor, in your view, is related to a gun showing
up at a crime scene, right, a murder scene, someone gets killed, et
cetera?

 

*° Agent Casa Transcript, at 127-128.

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DF O YP

Absolutely.

[BJut isn’t that crime scene also the reason or the place that permits
us to trace the gun? In other words, once the gun is walked, let’s
say it walks south, isn’t the only other information we are ever
going to get about that gun, isn’t that going to come from a crime
scene?

Most likely, unless we have some resource in place down there,
whether it be an informant or an undercover or an agent or
something telling us where those guns end up.

* KK

So assuming for a second that that does not exist because we
don’t have any evidence to speak of, the only way we are going
to see this firearm that was let go --

Is a crime recovery.

Crime gun recovery --

That’s correct.

-- which would be either in the pocket of a person caught for some
other offense or very likely at a shooting?

Most of the Mexican recoveries are related to an act of violence.

ok

But so typically the recovery will have evolved around a serious
injury or gun related?

Or about drug related.

But someone is either dead or hurt or both or something
frequently?

Yes... there is a lot of violence, and guns are recovered with
respect to the violence. A lot of your big seizures of the guns,
though, the big seizures of the guns, mass is usually in conjunction
of seizures of other things.

oR oe

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My opinion is the last portion of your statement is spot on, you
have to accept that there is going to be collateral damage with
regard to that strategy. You can’t allow thousands of guns to go
south of the border without an expectation that they are going
to be recovered eventually in crimes and people are going to
die.

IX. The Tragic Death of U.S. Border Patrol Agent Brian Terry

 

FINDING: Jaime Avila was entered as a suspect in the investigation by ATF on
November 25, 2009, after purchasing weapons alongside Uriel Patino,
who had been identified as a suspect in October 2009. Over the next
month and a half, Avila purchased 13 more weapons, each recorded
by the ATF in its database within days of the purchase. Then on
January 16, 2010, Avila purchased three AK-47 style rifles, two of
which ended up being found at the murder scene of U.S. Border
Patrol Agent Brian Terry. The death of Border Agent Brian Terry
was likely a preventable tragedy.

Fast and Furious has claimed the life of an American federal agent. Late in the evening
of December 14, 2010, Border Patrol] Agent Brian Terry, a native of Michigan, was on patrol
with three other agents in Peck Canyon, near Rio Rico, Arizona. One of the agents spotted a
group of five suspected illegal aliens; at least two were carrying rifles. Although one of the
border patrol agents identified the group as federal agents, the suspected aliens did not drop their
weapons. At least one of the suspected aliens fired at the agents, who returned fire. Agent Terry
was struck by on bullet that proved to be fatal.*!

Most of the suspected aliens fled the scene, though one of them, Manual Osorio-
Arellanes, had been wounded and was unable to flee. A slew of federal agents from a variety of
agencies arrived at the scene and the authorities’ recovered three weapons from the suspects,
who had dropped their rifles in order to flee the scene faster. Two of those recovered weapons
were AK-47 variant rifles that had been bought on January 16, 2010 by straw purchaser Jaime
Avila during Operation Fast and Furious. Avila was entered as a suspect in the investigation by
ATF on November 25, 2009. This occurred after he purchased weapons with Uriel Patino, a
straw buyer who had previously been identified as a suspect in October 2009. On November 24,
2009, agents rushed to the FFL to surveil Avila and Patino, but arrived too late. Over the next
month and a half, Avila purchased 13 more weapons, each recorded by the ATF in its database
within days of the purchase. Avila bought the weapons recovered at the scene of Agent Terry’s
murder almost two months after ATF knew he was working with Patino. Avila’s purchases
would eventually total fifty two under Fast and Furious.” Patino’s purchases would eventually

 

°° Agent Alt Transcript, at 187-191.
*! In re: Manual Osorio-Arellanes, No. 10-10251M, aff. of [Name Redacted], Special Agent, (D.Ariz. Dec. 29,

2010).
>? Chart of “Indicted targets”, [Author Redacted], A/GS Phoenix FIG, (Mar. 29, 2011).

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top 660. As with all the Fast and Furious suspects, gun dealers provided contemporaneous
notice of each sale to the ATF.*°

The day after the Terry shooting, law enforcement agents located and arrested Avila in
Phoenix. The U.S. Attorney’s Office in Arizona later indicted him. Avila’s indictment,
however, is typical of the indictments that have resulted thus far from Fast and Furious. Avila
was indicted on three counts of “lying and buying”—including false statements on ATF Form
4473, a prerequisite to the purchase of any firearm. These three indictments, however, do not
stem from the weapons purchased on January 16, 2010, that eventually ended up at the Terry
murder scene. Instead, Avila was indicted with respect to rifles he bought six months later and
which also turned up at a crime scene.

On May 6, 2011, DOJ unsealed an indictment of Manuel Osorio-Arellanes for the murder
of Brian Terry. Federal authorities, led by the FBI, are pursuing his co-conspirators, including
the gunman suspected of firing the fatal shot and fleeing the scene.

In Phoenix, the news of Agent Terry’s death deeply saddened, but did not surprise, Group
VII agents. They had agonized over the possibility of this event, and they ruefully contemplated
future similar incidents resulting from the abundance of illegal guns.

During their transcribed interviews, the ATF agents shared their reactions to Agent Brian
Terry’s murder. Agent Dodson testified:

Q. Along those lines, when did you find out that Agent Terry was
killed?

A. I found out December 16", 2010.

Q. And what can you tell us about your recollections that
information?

A. Well, I was called by another agent and was told that — or asked if I
had heard about Agent Terry’s death. I told him that I had. And
then he confirmed for me what I already thought when he called,
which was that it was one of the guns from Fast and Furious.

And then later that day, I was speaking to my acting supervisor,
Marge Zicha, and she had made a comment to me that they were
very busy because two of the Fast and Furious guns were found at
the scene of Agent Terry’s homicide.”

 

53

Id.
54 US. v. Manuel Osorio-Arellanes et al., No. CR-11-0150-TUC-DCB-JCG. (D.Ariz. Apr. 20, 2011).
55 Agent Dodson Transcript, at 136-137.

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Agent Dodson also detailed ATF’s awareness of and its multiple contacts with the
accused murderer, Jaime Avila, for months prior to Agent Terry’s murder.

So essentially in January 2010, or December when I got there, we Anew
Jaime Avila was a straw purchaser, had him identified as a known straw
purchaser supplying weapons to the cartel. Shortly thereafter, we had
previous weapons recovered from Mexico with very short time to crime
rates purchased by Jaime Avila, as I recall.

And then in May we had a recovery where Border Patrol encounters an
armed group of bandits and recovered an AK variant rifle purchased by
Jaime Avila, and we still did not —- purchased during the time we were
watching Jaime Avila, had him under surveillance, and we did
nothing.

Then on December 14th, 2010 Agent Brian Terry is killed in Rio Rico,
Arizona. Two weapons recovered from the scene... two AK variant
weapons purchased by Jaime Avila on January 16th, 2010 while we had
him under surveillance, after we knew him to be a straw purchaser, after
we identified him as purchasing firearms for a known Mexican drug
cartel.

Although the ATF agents’ worst fears were confirmed, they did not feel good about being
right. In the wake of Agent Terry’s death, they were even more upset, saddened, and
embarrassed. Agent Alt explained:

I have loved working for ATF since I have been hired here. I came here to
retire from ATF. I could be doing any number of things, as you all are
aware. .. . | could be whatever I chose to be, and I chose to be here.

I am not -- I am embarrassed here. I regret the day that I set foot into this
field division because of some of the things that a few people have done
and the impact that it has had on our agency, and not the least of, not the
least, though, is the impact it has had on the public and safety and Agent
Terry. While I don’t know that guns in any of these cases are directly
responsible for his death, I am appalled that there would be in any way
associated with his death.*”

A December 15, 2010 e-mail exchange among ATF agents details the aftermath of Agent
Terry’s death. ATF, fearing the worst, conducted an “urgent firearms trace” of the firearms,
recovered on the afternoon of the murder. By 7:45 p.m. that evening, the trace confirmed these
fears:

 

*® Agent Dodson Transcript, at 140-141.
>? Agent Alt Transcript, at 180-181.

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From:
Te:
ce:
jSent; Wed Dac 15 19:45:03 2010
Subject: U,S, Border Patrol Agent killed Jn the Ine of duty - Two firearms recovered by ATF

The two firearms recovered by ATF this afternoon near Rio Rico, Arizona, in conjunction with the

shooting death of U.S, Border Patrol agent Terry were identified as “Suspect Guns’ in the Fast and
Purious —_

  
   
 

The firearms are identified as follows:

Romarm/CUGIR, 762 rifle, Model GP WASR 10/63, serial number 1971CZ3775
Romarm/CUGIR, 762 rifle, Model GP WASR 10/63, serial number 1983AH3977

ontact me late this afternoon requesting Intel assistance in the tracing of two recovered
biearms,

J initiated an urgent firearms trace requests on both of the firearms and then contacted the NIC to
ensure the traces were conducted today,

I was advised by the NTC that the firearms were entered into ATE Suspect Gun database by SA
Medina and aasociated to the Fast and Furious investigation. The NTC further advised that on
01/16/10 Jaime AVILA purchased three Romarm 7.62 rifles from Lone Wolf Trading Company, two
of these firearms are the recovered firearms cited above,

No trace has been submitted on the third firearm purchased by AVILA (serial. number 1979181530), 1
am researching the trace status of the firearms recovered earlier today by the FBL

 

 

 

Agent Terry did not die in vain. His passing exposed the practice of knowingly allowing
the transfer of guns to suspected straw purchasers. ATF now maintains it no longer condones
this dangerous technique. The cessation of this practice will likely save lives on both sides of the
border. Tragically, however, we will be seeing the ramifications of the policy to allow guns
from Fast and Furious be transferred into the hands of suspected criminals for years to come.
These weapons will continue to be found at crime scenes in the United States and Mexico.

X. The Beginning of DOJ’s Denials: “Hell, No!”

FINDING: Phoenix ATF Special Agent in Charge (SAC) William Newell’s
statement that the indictments represent the take-down of a firearms
trafficking ring from top to bottom, and his statement that ATF never
allowed guns to walk are incredible, false, and a source of much
frustration to the agents.

On January 25, 2011, Phoenix SAC William Newell gave a press conference announcing

the indictment of 20 individuals as a result of Fast and Furious. Most of the indictment involves
“lying and buying” — paper transgressions that carry much lighter sentences than felonies relating

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to actual firearms trafficking. Under “lying and buying,” a straw purchaser improperly fills out
ATF Form 4473, required before the purchase of any firearm, by submitting false information.
A comparison of the indictment with the goals of Fast and Furious reveals the Operation’s utter
failure. According to the agents, the Department could have indicted all 20 defendants far
sooner than January 2011. Instead, the timing of the indictment appears to coincide with the
outrage following the killing of Border Agent Brian Terry. Agent Dodson testified:

A. Essentially, the indictments looked very similar in January 2011,
when they were finally served, as they did in December 2009 when
I first got here. The only difference is the number of purchases
that were made. Some of the names of people are new, some have
been added and some taken out, but no major players at all.

Q. So the publicly announced indictments, they are all for straw
purchasers, right?

A; Yes, sir, which we could have rounded up . . . a year and a half
ago.

Q. You could have arrested them the day you saw this stuff
happening?

A. And saved those 1730 guns from being trafficked.” 8

At the press conference announcing the indictments, SAC Newell made two notable
comments. Newell claimed that the indictments represented a take-down of a firearms
trafficking ring from top to bottom.*” Yet virtually all of the indicted defendants were mere
straw purchasers—not key players of a criminal syndicate by any stretch of the imagination.

Newell’s second notable comment was equally negligent and inaccurate. When asked
whether or not ATF ever allowed guns to walk, Newell emphatically exclaimed “Hell, no!”
His denial was shocking to those who knew the truth, like Agent Alt:

Q. And why is that engrained in your memory?

A. Candidly, my mouth fell open. I was asked later by the public
information officer for our division . . . and I told him that I
thought that — I was just astounded that he made that statement and
it struck me and I don’t know how he could make that statement.’

*

 

** Agent Dodson Transcript, at 141-142.

*° Tamara Audi, Alleged Gun Ring Busted, W.S.J., Jan. 26, 2011.

® Dennis Wagner, Sen. Chuck Grassley: Guns in ATF sting tied to agent’s death, TUCSON CITIZEN, Feb. 1, 2011.
*' Agent Alt Transcript, at 193-194.

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When SAC Newell made those statements at the press conference and you
said something along the lines — did your jaw drop?

Literally my mouth fell open. I am not being figurative about that. 1
couldn’t believe it.

Is it fair to say that his statements that caused your mouth to drop, that’s a
spectacular lie, isn’t it?

Yes. My mouth fell open because I thought, I perceived it as being either
completely ignorant or untruthful. But also a person in that position I
don’t really — I don’t know that I would have made — the statement was
unnecessary to make. He did not need to make the statement.

If I am in a position like that and I have gotten involved or have
knowledge of an investigation, me personally, I probably would have
avoided comment. I certainly would have avoided making a comment like
that.”

Agent Casa also expressed similar astonishment at Newell’s inaccurate comment
following the press conference:

Q.

ry Oo - Oo PF

At the press conference I believe he was asked whether or not guns
were walked, and his response was hell no. Do you remember
that?

Yes, I do.

What was your reaction to that statement?

I can’t believe he just answered the question that way.

And why can’t you believe that?

Because we, in my definition of walking guns, we had walked a
bunch of guns. When I say we, Group 7. And under this case that
we are discussing, a bunch of firearms were walked against the
objections o f some senior agents.

Q. So Newell’s statement was inaccurate?

A. I would say it was very inaccurate.”

 

® Agent Alt Transcript, at 202-203.
® Agent Casa Transcript, at 119-120.

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Agent Forcelli shared similar sentiments over Newell’s remarkable statements during the
press conference.

Q. Right. Did you attend that press conference that SAC Newell
came down to do, or did?

A. No. I was involved in the command post that day. I wasn’t there.
I heard about it. I was appalled.

Q. Tell us about your reaction. What were you appalled by?

A. My understanding is somebody asked him if guns walked, and his
response was hell no.

Q. How did you feel about that?

A. Insulted. Because I know that they were saying that this was a
technique that was like a great new technique we were using. . . .
And it just amazes me. But he knew what was going on. He is the
SAC. And agents knew that guns were not being interdicted.™

None of the agents interviewed believed Newell’s dramatic comment to be truthful. His
denial of the existing policy sought to end questioning on this topic once and for all. Instead, it
only engendered more attention and interest.

XI. DOJ’s Continued Denials: “That is False.”

FINDING: Despite mounting evidence to the contrary, DOJ continues to deny
that Operation Fast and Furious was ill-conceived and had deadly
consequences.

The denials of gunwalking became more sensational as they continued. Presented with
an opportunity to set the record straight, the Department of Justice instead chose a path of denial.

A. “Of Course Not”

In a February 4, 2011 letter to Senator Charles Grassey, Ranking Member of the Senate
Judiciary Committee, DOJ’s Assistant Attorney General for Legislative Affairs wrote:

At the outset, the allegation described in your January 27 letter — that ATF
“sanctioned” or otherwise knowingly allowed the sale of assault weapons
to a straw purchaser who then transported them into Mexico — is false.

 

% A gent Forcelli Transcript, at 52-53.

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ATF makes every effort to interdict weapons that have been purchased
illegally and prevent their transportation to Mexico.

When asked in later meetings and letters how this statement could be true in light of all
the evidence to the contrary, DOJ officially stood by it. The argument that it is true relies on the
fine distinction that it was not the straw purchasers themselves who physically crossed the
border with the weapons, but rather the unknown third parties to whom they transferred the
firearms. DOJ offered no specific defense of the second sentence.

Of course, this statement misses the point entirely. ATF permitted known straw
purchasers to obtain these deadly weapons and traffic them to third parties. Then, at some point
after ATF broke off surveillance, the weapons were transported to Mexico. ATF was definitely
aware that these guns were ending up in Mexico, being transported through Arizona and Texas
Points of Entry.°

The second part of this statement is also patently false. Numerous ATF agents have gone
on the record with stories that directly contradict it. During interviews with, these agents had the
chance to respond directly to DOJ’s position. Not surprisingly, they uniformly rejected it. Agent
Alt testified:

Q. And I will just read a portion of that into the record. The second
paragraph of the letter said, the second sentence of the second paragraph
says, “ATF makes every effort to interdict weapons that have been
purchased illegally and prevent their transportation to Mexico,” period. Is
that sentence, based on your knowledge of what was going on here in
Phoenix, true or not true?

A. No, it is not true.”

Agent Forcelli agreed:

Q. [The] second sentence of the second paragraph of the letter says: “ATF
makes every effort to interdict weapons that have been purchased illegally
to prevent their transportation to Mexico,” period. Have you heard that

before, that that representation was made to Congress?

A. I was unaware of that. And I will tell you based on what I know has
occurred that that is false.

Agent Forcelli reiterated, “Based on my conversations in regards to that meeting between
Mr. Hurley and the ATF’s agents and the two gun dealers, no. It is false. ©? And when asked if

 

5 | etter from Assistant Attorney General Ronald Weich to Senator Charles E. Grassley (Feb. 4, 2011) (emphasis
added).
** The Fast and The Furious, Organized Crime Drug Enforcement Task Force Interim Report (Sept. 9, 2010).
67 *
Agent Alt Transcript, at 148.
68 Agent Forcelli Transcript, at 143-144.

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the DOJ’s statement was true, given what he had personally witnessed in Phoenix, Agent Casa
replied, “I think you already know the answer to that. Of course not.” ”°

B. More Denials

Even after the U.S. Congress presented it with evidence that the statements in the
February 4, 2011 letter were false, the Department of Justice stil] stood by its initial position. In
a May 2, 2011 response to a letter from Senator Grassley, the Department maintained its original
position:

It remains our understanding that ATF’s Operation Fast and Furious did
not knowingly permit straw buyers to take guns into Mexico. You have
provided to us documents, including internal ATF emails, which you
believe support your allegation. . . . [W]e have referred these documents
and all correspondence and materials received from you related to
Operation Fast and Furious to the Acting Inspector General, so that she
may conduct a thorough review and resolve your allegations.”’

The Justice Department also notes that the Attorney General has “made clear . . . that the
Department should never knowingly permit firearms to cross the border.” Although the
Department issued this directive in early-March, well after the congressional investigation of
Operation Fast and Furious had begun, it is a welcome affirmation of what the ATF
whistleblowers had been trying to tell their bosses for over a year before Agent Brian Terry was
killed.

XII. Conclusion

We will persist in seeking documents and testimony from Justice Department officials
and other sources to thoroughly examine all the key questions. The Department should avail
itself of the opportunity to come clean and provide complete answers. It should also reverse its
position and choose to fully cooperate with the investigation.

 

* Agent Forcelli Transcript, at 144.
7 Agent Casa Transcript, at 131.
7! Letter from Assistant Attorney General Ronald Weich to Charles E. Grassley (May 2, 2011).

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